16-14876-aih   Doc 11   FILED 09/19/16   ENTERED 09/19/16 20:23:46   Page 1 of 5
16-14876-aih   Doc 11   FILED 09/19/16   ENTERED 09/19/16 20:23:46   Page 2 of 5
16-14876-aih   Doc 11   FILED 09/19/16   ENTERED 09/19/16 20:23:46   Page 3 of 5
16-14876-aih   Doc 11   FILED 09/19/16   ENTERED 09/19/16 20:23:46   Page 4 of 5
16-14876-aih   Doc 11   FILED 09/19/16   ENTERED 09/19/16 20:23:46   Page 5 of 5
